              Case 4:12-cv-00091-BSM Document 2 Filed 02/10/12 Page 1 of 3



              IN THE CIRCUIT COURT OF PULASKI COUNTY, ARKANSAS
                                CIVIL DIVISION

GARY REECE OR SHERR! WOODS
AND/OR OCCUPANTS OF
                                                                  5TH DIVISION
1015 NORTH MISSISSIPPI
LITTLE ROCK, AR 72207·
vs.
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                                                                      FILED 10/15/10 14:46:1~
THE BANK OF NEW YORK, MELLON                                          Pat o•Brien Pulaski Circuit Clerk
AS TRUSTEE FOR CIT MORTGAGE                                           IJH
LOAN TRUST 2007-1                                                         DEFENDANTS

                COMPLAINT FOR TEMPORARY RESTRAINING ORDER

         WHEREAS, the Plaintiff, Gary Reece, by and through his attorney, Kathy A Cruz,

the Cruz Law Firm, P.L.C., and for his Complaint for Temporary Restraining Order

against the Defendant, states:

         1.   This Court has both jurisdiction over the parties and subject matter, and venue

is proper in this County.

         2.   Plaintiff was informed by letter, dated August 25, 2010, that his property,

located at 1015 North Mississippi, Little Rock, Arkansas 72207, was going to be sold at

public auction on October 19, 2010 at 3:30 p.m ..

         3. Plaintiff has been in negotiations with Vericrest for a substantial period of

time to get a correct statement of the current amounts due. Plaintiff has previously sent

the amounts demanded by Vericrest, only to have those checks returned with demands

for additional amounts. Plaintiff has yet to be able to determine what amount would be

necessary to satisfy Vericrest.

         4· Plaintiff respectfully request that this Complaint be granted so that he is

allowed to stay in the home until he is able to come before this Court and have his case
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heard.                                                                    llllllllllllllllll\11111111111111111 1111111111111
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            Case 4:12-cv-00091-BSM Document 2 Filed 02/10/12 Page 2 of 3



            Plaintiff also has stated in his Affidavit that the moving party, represented by

Wilson and Associates P.L.L.C., is unknown to the Plaintiff, and that the Plaintiff

believes that the moving party has no legal right or capacity to proceed, as no moving

party named is in privity of contract with the Plaintiff. Therefore, there is a necessary

party missing from the action under Arkansas Code Annotated 18-50-101 et. seq.

       6. The Plaintiff will suffer irreparable harm if the Court does not grant his

Complaint. The Plaintiff will be put out on the street, and the Plaintiff will lose all his

equity in a home that he thought was his, but is now being sold by strangers. No

damage will result to the Defendants, as upon information and belief, the Defendants

·are not in privity of contract with the Plaintiff, and have no capacity or power to act

under Arkansas Code Annotated 18-50-101 et.seq.

       7· The Plaintiff will likely succeed in having the sale cancelled until all proper

parties are joined and are in privity of contract with the Plaintiff.

       8. The public interest in allowing the Plaintiff the ability to come before the

Court to save his home weighs heavily in favor of the entry of a Tem:Porary Restraining

Order in favor of the Plaintiff.

       WHEREFORE, Plaintiff requests his Complaint for Temporary Restraining Order

be granted, allowing the Plaintiff to remain at his residence of 1015 North Mississippi,

Little Rock, Arkansas 72207, until a hearing before the Court can be scheduled, and for

all other relief to which he is entitled.

                                                   Respectfully submitted,
                                                   GARY REECE, Plaintiff

                                            By:____,._:'~=-·'~~~---
                                                   Katl#A.Cruz
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Case 4:12-cv-00091-BSM Document 2 Filed 02/10/12 Page 3 of 3



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